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NOTICE OF AND RESCISSION OF MOTION TO RECONSIDER MAGISTRATE 'S
ORDER OF DETENTION FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105

Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 43 Filed 07/14/10 USDC Colorado Page 1 of
8 MOTION TO RECONSIDER MAGISTATE'S ORDER OF DETENTION 1, Page 2 of 8 2, Page 3 of 8 3,
Page 4 of 8 4, Page 5 of 8 5, Page 6 of 8 6, Page 7 of 8 Richard K. Kornfeld 7, Page 8 of 8"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind the
original Case 1:10-cr~00317-REB Document 43 Filed 07/14/10 USDC Colorado Page 1 of 8
MOTION TO RECONSIDER MAGISTRATE'S ORDER OF DETENTION 1, Page 2 of 8 2, Page 3 of 8 3,
Page 4 of 8 4, Page 5 of 8 5, Page 6 of 8 6, Page 7 of 8 Richard K. Kornfeld 7, Page 8
of 8" including every copy, for cause. I made a mistake creating, preparing and filing
the MOTION TO RECONSIDER MAGISTRATE'S ORDER OF DETENTION. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

Lomy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your frjend; go humble yourself; plead with your friend."
“Give no sleep to your eyes, nor slumber to your eyelids." °"Deliver yourself like a gazelle from the hand
of the hunter, and like a bird from the hand of the fowler.”

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

Sincerely
Lbs hi jet legge Gn iatary
F | L E D Richard Kellogg Armstrong
UNITED STATES DISTRICT COURT c/o 20413-298

DENVER, COLORADO Federal Correctional

Institution - Lompoc
JAN 17 2014 3600 Guard Road

JEFFREY P. COLWELL Lompoc, California

CLERK

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

ase Number: 10-cr-003 17-REB-2

TED STATES OF AMERICA,

A
é

Plaintiff,

RICHARD KELLOGG ARMSTRONG, §

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Defendant.

r
& MOTION TO RECONSIDER MAGISTRATE'S ORDER OF DETENTION
NS

x

 

Defendant, Richard Kellogg Armstrong, by ahd through his court-appointed attorney,

  

= K. Kornfeld, hereby moves this Honorab! S , pursuant to 18 U.S.C. § 3145(b), to
- e¥iew and reconsider the Magistrate Judge’s co of Detention (Document 30). In support ~~

tion, Defendant states as follows:
1. Be Be
1. Defendant is charged by Indictmeyt With wire fraud and filing false claims, in V/\

t:. of 18 U.S.C. §§ 1341 and 287. Defendidt is facing a total of five counts.

     
  

) «

Federal agents arrested Defendant ih,

   
   
 

 

e Southern District of California on May 20,

Defendant appeared before Magistrate Judge\ffater C. Lewis for an initial appearance and

  
 
 

@tention hearing, and Magistrate Judge Lewis fous that no condition or combination of conditi
uf reasonably assure the appearance of Défetdant as required (Document 8). Upon informatj
Sod belief, the government did not argue tha\D¢éfendant posed a danger to the community. XQ
3. On June 21, 2010, the Defendant appeared before Magistrate Judge Kathleen
Tafoya in the District of Colorado, at which time Magistrate Judge Tafoya allowed Defendant to
reopen the detention hearing. The government continued to assert that Defendant posed a risk of

flight. The government did not argue that Defendant was a danger to the community, and
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conceded that there was no statutory presumption of detention applicable to the case. After

hearfhg testimony from LR.S. Special Agent Greg Flynn, and considering the arguments of

   

that hould be detained pending trial. This ruling was codified in a written Order of Detention

(Do 30).

   

Among the factors cited in the On er the following: 1) the Defe

   
    

titlipSkeleproperties in the name of various entit®SQ) the fact that Defendant is a liceAsed Pot

vindadg associates with other individuals No may have access to aircraft and (
issues with the United States’ taxing autfiprities” (emphasis supplied); 3) the faXt thaba
t

   
 
   
  
  
  
  

to
lar: ion of the proceeds allegedly illegally pait.ty Defendant are missing; and 4)

that D&®endant and his wife spend time in Mexic e Order of Detention at p. 5. The

Magate Judge acknowledged that Defendant (lling to surrender his pilot’s licerf&e

pity Id. While the government did produc

_ .
payments from various bank accounts, some

ence of Defendant’s receiving so
ich are located overseas, it did not proguce

evi hat Defendant had significant finaXe dat resources, either in the United States o oda,

or efendant somehow otherwise had control over vast sums of money. V)
\
Nes: Since the detention hearing, a nue er-of new factors have arisen, ead

fo g: 1) due to the volume of discovery anQother issues pertinent to effectively wey
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for and defending this case, Defendant and his of endant filed a Joint Unopposed Moti

  
  

in Which the Trial for the Offenses

SS of Complexity and to Exclude Time |
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charged§in the Indictment Must Commence (Do nt 36). As a result of this Motion, #& Court

asgvacated the August trial date and set Gah hearing on October 22, 2010 (Docume

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42 38) fe defendants have received more th 700 pages of discovery, a mirror computer
image, and various recorded telephone calls between Defendant and his wife while Defendant
was in custody in California; 3) a review of the recorded telephone calls indicates that Defendant
does not have vast financial resources at his disposal and, in fact, is struggling to come up with

enough funds to pay for calling cards at the jail; 4) the government has indicated that it may very

2
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well supersede the Indictment in August with new charges against defendants and the possible

addition of other indicted individuals.
II. Standard of Review

6. A District Court’s authority to review a Magistrate Judge’s decision is codified in

~~ § 3145(b), and is de novo review. See United States v. Cisneros, 328 F.3d 6

  
     
 

(1 : 2003). This Court has the discretion¢g wétermine what procedures are mo
pu in order to conduct its review, andy needyot conduct a de novo evidentia
GM ied States v. Lutz, 207 F.Supp.2d, 1240) 21 (D.Kan. 2002); United States vWKBe ;
oN 1190, 1192-93 (9" Cir. 1990). RegarWess of how it decides to proceed, a A

must decide “both the facts and the propritty of detention anew without deferen

   

trate judge’s findings.” United States y. Frele. 2004 WL 1732306, at *1 (citing Lugg, 207

2d at 1251).

~. Under the Bail Reform Act o

eaflease, with or without conditions, unless it “

 
 
  
    
    
 
   
 

x Detention ®

4, the court must order a defendant’s pigtrial

s that no condition or combination of
cOfNitihs will reasonably assure the appe&tande of\he person as required and the safety Bf
wv and the community.” 18 U.S.C. & 145(e), The government must prove risk of
yy a preponderance of the evidence, and angerousness by clear and convincing ~~

xX" 328 F.3d at 616. In the present case,\h¢ Court’s analysis should be limited to ®,
Al

iggt. Inasmuch as the government did not pro n a theory of dangerousness.

8. In conducting its review, the C is guided by the factors enumerated in 1

BY: 3142(g), which include, in relevant part’, the following:

® 1. the nature and circumstances of the offense charged, including whether the
offense charge. ..;
2. the weight of the evidence against the person;

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"A fourth factor under 18 U.S.C. 3142(g) is the “nature and seriousness of the danger to any person of the
community that would be posed by the person’s release”. 18 U.S.C. § 3142(g)(4). Because the government has not
argued that Defendant is a danger to the community, this factor 1s not relevant to the Court’s analysis in the instant

case.

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3. the history and characteristics of the person, including —

(A) the person’s character, physical and mental condition, family ties,
employment, financial resources, length of residence in the community,
community ties, past conduct...criminal history, and record concerning
appearance at court proceedings;

IV. Analysis

A consideration of the factors enumerated in 18 U.S.C. § 3142(g) s

  
   

 
   

t conditions or a combination of conditi

og@bing participation at this case absent his pretral tion.

R 10. Turning to the first of the sled ON 42(g) factors, this case invol
Magons of fraudulent activity associated with%he filing of certain IRS forms. “Nh

th overy provided to date, Defendant allegedly filed certain forms and subsequen

at will reasonably ensure the De

 

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r&yg@ed significant payments from the IRS. The Genet alleges that the Defenda re

not entitled to the payments they received from t S. Defendant Armstrong utilized the
& co-Defendant Mortis, a tax prepare ile the forms in question. The instaMt gase,
T >

&

off&yse @r other types of offense that may give a rebuttable of presumption of MA
P \Q
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is a fraud case and does not involve allegations of violence, controlled substance

EZ

to 18 U.S.C. § 3142(e).
. With respect to the second applic¥Wle factor, the weight of the evidence \

the p¥rs8n, such a determination is difficult at th int given the volume of discovery, Ksu
i ost

inv the advice rendered to pene ous tax professionals, and perhaps t

Ee

& licated factor, i.e. Defendant’s fraudulent-intent, or lack thereof. As in many so-calle
whe lar cases, the government appears to be relying on circumstantial evidence to establish
thaf Defendant specifically intended to defraud the government and, in so doing, knew and

understood that he was not entitled to the tax payments for which he applied. While undersigned
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counsel has yet to digest all of the discovery in this case, a review of the Criminal Complaint

dogs not suggest that there is a so-called “smoking gun” document or other piece of evidence that

 
  

dirgctly establishes Defendant’s fraudulent intent. The closest the government may have in this
re are several emails from Defendant’s prior accountant, who warned Defendant that the
fill e forms at issues was not proper. However, the evidence establishes that Dg@i@iwant

sub tly contacted co-Defendant Morris, wh®got only assisted Defendant in the
vor Nay also himself filed the same forms, Ye suggesting that ano N A
profe al believed that the filing of the forms &% tsgue was not improper. The point héeXe is
the issue of Defendant’s mens rea most tice ill be the crux of any trial, and the i\

wil ight
NE of the government’s evidence is not seni
f the

12. With respect to the third relevant ww" the history and characteristics
c

  
   
    

By

\ qua
Defe , the Defendant’s background and pres irsumstances mitigate against an order of

N
deten efendant is 76 years old, a citizen of nited States, and devoid of any pri

onal history. He has work experience in opposing field, although he has been rgtired

for \- At the Detention Hearing, the testifyiny agent suggested that the fact oub\
mehow undermines his assertion oy

as of Americans, while Defendant is \

flincome, including lines of credit. NS

with his wife where she ostensibly rmgffs a

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has R ally derived some post-retirement incas
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ist However, the fact remains that, like milf}
working in a fulltime capacity, he has other source

true tn Dyencon spends time in Mexico SS
eviden

part-tige real estate business, although the is devoid of any proof that she is active in
the nt Ry or that Defendant is somehow actively engaged in the business. Regardless, there

is nofing illegal or nefarious about spending the winter months in Mexico, working in a part-

time capacity, or otherwise traveling at will when there are not travel restrictions, as was the case
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prior tg Defendant’s arrest. While Defendant is in very good health for a man of his age,

Defengant, his wife and undersigned counsel have concerns about the long-term effects of

   
  

his inté@et Th both of the Arizona properties. Athoughythe testifying agent at the
Heari tempted to portray Defendant’s egies to maintain a flight log boo
priv aida e as evidence of disrespect for goyernmental authority, the fact remains that

Defend as no negative history of ignoring cov orders, failing to file income tax

otherwise disobeying government authority. ~~ was cooperative with the pretifa
1a Wt

deten ww. in both Colorado and Californ h respect to Defendant’s pilot licénse,
ona Retin to give up that license and information and belief, it would no
possible to rent an airplane without producing avalid FAA pilot’s license. At the sad f\
hearing, stifying agent spun a fantastical cogiSpiracy theory about how Defendant #igM&be
able to xX relationships with certain snc Sowa who, in the past, have ex¥yess
anti-g ent feelings and who may have seeps to aircraft. Apart from this rank +

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there is no evidence in the record that Defendan

arrest, (\" access to an airplane that he
is true Defendant does not have ties to the

friends t ee in the Denver area. Were this Court to Order Defendant’s release, Defendan

ose airplane was seized by the IRS u S

     
 

Swulll utilize to flee the United States. Fi@g]ly, it

\stfict of Colorado other than having s

would pret return to his home in the Phoenix area pending trial. However, Defendant would
be willing to remain in the District of Colorado and, upon information and belief, would be able

to secure housing with one of his friends in the Denver area.
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13. In light of the factors discussed above, Defendant respectfully avers that there are

, or combinations of conditions, that will reasonable ensure his ongoing participation

  
  

ase in the District of Colorado. Such conditions might include, but are not

   

limited ollowing: 1) electronic home itoring; 2) a curfew; 3) travel restrictions; 4)
submissigff of Defendant’s passport to the caer District Court; 5) voluntary
relinquis f Defendant’s pilot’s license; WO any other condition or combinati

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conditio at this Court sees fit to impose.

Should this Court wish to conduct hearing regarding this Motion, undaigfgn

counse’ fully requests that it not be set te of July 26, 2010, as undersigned gounsel
N

is schedule be out of state that week.

WAGREFORE, Defendant rspecttuageauests that this Court review and reconsider

Magis @NNae's Order of Detention for the reasons set forth herein. V\

Wetted this 14" day of July, 2010.

av Respectfully submitted,

\ V\
\ ‘ s/Richard K. Kormfeld
\ RICHARD K. KORNFELD

 

Attorney for Defendant Richard Arm g

fe

1600 Stout St., Suite 1000
(CX Denver, Colorado 80202
Ns

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(\ Fax: (303) 446-9400
admin@rechtkornfeld.com
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CERTIFICATE OF SERVICE

, hereby certify that on this 14" day of July, 2010, I electronically fi

Motion te Reconsider Magistrate’s Order of Detention with the Clerk 0

led the foregoing
CM/ECF system which will send notification of such fi

f Court using the
ling to all listed parties.

 

OPCRI YL

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